                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION


ANTOINE RICHARD, ET AL                               CIVIL ACTION NUMBER 15-cv-2557

VERSUS                                               JUDGE HICKS

FLOWERS FOODS, INC., ET AL                           MAGISTRATE JUDGE WHITEHURST

______________________________________________________________________________

                          REPLY MEMORANDUM IN SUPPORT OF
                           MOTION FOR CLASS CERTIFICATION


        May it Please the Court:

        Defendants, Flowers Foods, Inc., et al (together, “Flowers”), have filed (Rec. Doc. 317)

a Response in Opposition to that Motion for Class Certification (Rec. Doc. 299) filed by

Plaintiffs, Jerry Bell et al, on behalf of themselves and a class of individuals as defined in that

Motion. In response to Defendants’ arguments against class certification, Plaintiffs respectfully

submit this Reply Memorandum in Support.



        Briefly stated, Flowers’ effort to avoid class certification is long on paper and short on

ink.

        Defendants employ strong language on the law, only to find their own explication of it

outdated and wrong. They raze forests for enough paper to delve into minutiae they are

concerned would not convince a jury – so they seek to try the matter now, in its prematurity. But

the law forbids that trial here.

        And the facts, notwithstanding those minutiae, militate in favor not of hundreds of trials,

but in favor of one. The Motion should be granted.


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        I. Rule 23(a)

        A. Matters Undisputed: Numerosity, Typicality, Ascertainability

        Preliminarily, it must be noted that Defendants do not contest at all Plaintiffs’ allegations

that the proposed class meets two of four threshold requirements imposed by F.R.C.P. 23(a):

numerosity and typicality.1 Flowers also does not contest Plaintiffs’ demonstration that they meet

the implicit “ascertainability” requirement read into Rule 23 by the Court of Appeals for the

Fifth Circuit.2

        As to Rule 23’s explicit requirements, Defendants do not brief numerosity at all; joinder

of the hundreds3 of alleged class members is impracticable.4

        Likewise, the word “typicality” does not appear in Defendants’ Memorandum. Because

“this claim revolves around [Flowers’] conduct, as opposed to the characteristics of a particular

class member’s claim, no individualized proof will be necessary to determine” Flowers’ liability

under the Act. In re Heartland Payment Systems, Inc. Customer Data Sec. Breach Litigation,

851 F.Supp.2d 1040, 1054 (S.D.Tex., 2012).

        Finally, Defendants do not contend the “class sought to be represented [is not] adequately

defined and clearly ascertainable”5 – indeed, Flowers represents in its Memorandum 11 times

that it has already ascertained the class consists of exactly 341 people.



        B. Matters Not Seriously Disputed: Adequacy


1
  Cole v. General Motors Corp., 484 F.3d 717, 723 (C.A.5, 2007).
2
  Union Asset Management Holding A.G. v. Dell, Inc., 669 F.3d 632, 639 (C.A.5, 2012).
3
  Flowers’ Memorandum (p. 3) acknowledges that prospective class members are at least 3 times more numerous
than the collective-action group.
4
  The alleged class sought certified under Rule 23(a) is much broader than the collective-action group earlier
conditionally certified by this Court under the Fair Labor Standards Act (FLSA); prospective class members’ claims
are limited neither by the requirement that each “opt in” imposed by 29 U.S.C. 216(b), nor by FLSA’s two- or three-
year statute of limitations, 29 U.S.C. 255.
5
  DeBremaecker v. Short, 433 F.2d 733, 734 (C.A.5, 1970).

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         Concerning the “adequacy” requirement imposed by Rule 23(a)(4), Defendants offer up

argument that Plaintiffs’ claims should not be certified “because they seek relief that other class

members do not want” (Rec. Doc. 317, p. 33).

         According to Flowers, the prospective class consists of distributors “who want to become

employees” and those “who... do not want to become employees” (Rec. Doc. 317, p. 33).6

         Defendants in support of their argument never mention the relief actually sought – which

is not that Plaintiffs and class members “become employees,” but for equitable relief recognizing

them as employees and “enjoining Defendants from pursuing the illegal policies” alleged

(Second Amended and Restated Complaint; Rec. Doc. 196, p. 19), and for damages sustained.

         There are no “conflicts of interest” between named Plaintiffs and the other class members

concerning the fact-finder’s determination of their retrospective status; any prospective

disagreement as to whether class members would prefer to remain employees of Flowers does

not even hint at a conflict sufficient to defeat adequacy.7

         Even if the requisite “conflicts of interest” were present, “the risk to unnamed class

members is smaller than usual here because of the opportunity for opt outs. Plaintiffs sought

certification under Rule 23(b)(3), which allows opting out…. if unnamed class members thought

that the risk of preclusion were cogent and wished to protect their claim, they could do so.” Slade

v. Progressive Security Insurance Company, 856 F.3d 408, 414 (C.A.5, 2017).8


6
  Defendants make reference also to former distributors, who are on neither side of this “argument” as they are no
longer employees.
7
  See, e.g., O’Connor v. Uber Techs., Inc., 311 F.R.D. 547, 566 (N.D.Cal. 2015) (“[A] decision to abandon a claim
that may not be certifiable does not automatically render a plaintiff inadequate, particularly when they seek the
majority of the claims.”); Stanich v. Travelers Indem. Co., 259 F.R.D. 294, 307 (N.D.Ohio 2009) (“[C]ourts have
found that concerns related to the potential res judicata effect of abandoning a certain claim in favor of another claim
do not *413 necessarily create a conflict between the class representative and the absent class members.”), each
quoted in Slade, supra, 856 F.3d at 412.
8
  Flowers’ Memorandum (p. 33) acknowledges the “due process protection” available to class members under Rule
23(b)(3) only by omission, by observing (correctly) that certification under Rule 23(b)(2) does not operate the same
way.

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           In short, Flowers has not seriously contended the class representatives’ inadequacy by

identifying the requisite conflicts between their claims and the prospective class’s. Rather,

Flowers has ignored the Complaint itself and its prayer for relief, and furthermore ignored the

availability of redress for opting-out class members under Rule 23(b)(3).

           Indeed, Defendants do not even suggest Rule 23(b)(3) does not adequately protect class

members even from conflicts of interest, if any were present.



              C. Commonality: Defendants, not Plaintiffs, Mistake the Law on Merits
              Considerations of Commonality at Rule 23 Certification
           Flowers Ignores the United States Supreme Court’s Post-Wal-Mart Restriction on Merits
           Inquiries in Order to Improperly Try its Case on the Pleadings
           Flowers’ insistence that “the Court should consider the merits because” (Rec. Doc. 317,

p. 11, emphasis in original) Plaintiffs cite law “explicitly rejected” (emphasis in original) by the

U.S. Supreme Court and by the Fifth Circuit is, put mildly, surprising.

           Exclaiming that this Court must see through merits questions (including disputed factual

determinations) to their conclusion now, prior to trial on those merits and relying entirely on

briefs, Flowers rests exclusively on the Fifth Circuit’s reading of Wal-Mart Stores, Inc. v. Dukes,

564 U.S. 338 (2011) in M.D. ex rel. Stukenberg v. Perry, 675 F.3d 832 (C.A.5, 2012) – in

particular the latter case’s explication that “[w]hat matters to class certification ... is not the

raising of common ‘questions'—even in droves—but, rather the capacity of [] class-wide

proceedings to generate common answers apt to drive the resolution of the litigation.”9

           Proceeding on the assumption, then, that this Court is required on motion for certification




9
    675 F.3d at 840 (emphasis in original) (internal quotation marks omitted).

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to “analyze rigorously the conflicting evidence before it and resolve material disputed facts,”10

including delving into merits questions whether relevant to Rule 23’s requirement of common

questions (as opposed to common answers after merits determination), Flowers enormously

misstates the law.

        Defendants’ entire opposition to Plaintiffs’ Motion rests on this mistaken notion this

Court should – and must – render final judgment on an incomplete record. That is not the law.

        As is immediately apparent from U.S. Supreme Court jurisprudence, Wal-Mart was very

soon after its publication determined to have gone too far – in particular, when the Supreme

Court clarified, in Amgen Inc. v. Connecticut Retirement Plans and Trust Funds, 568 U.S. 455,

466 (2013):

        Rule 23 grants courts no license to engage in free-ranging merits inquiries at the
        certification stage…. [A] district court has no authority to conduct a preliminary
        inquiry into the merits of a suit at class certification unless it is necessary to
        determine the propriety of certification…. [A]n evaluation of the probable
        outcome on the merits is not properly part of the certification decision. (internal
        citations omitted) (emphases added)

        Stukenberg, decided in 2012 without the benefit of Amgen’s correction, thus went

substantially too far in requiring of the district courts “an effort to decide if an examination of all

the class member's claims for relief will produce a common answer to the crucial [merits]

question[s]…” 675 F.3d at 840-41 (emphasis added).11

        Indeed, Amgen aimed directly at overreach on merits questions – exactly as Flowers

would have this Court overreach – by continuing that courts must “[b]ear firmly in mind that the

focus of Rule 23(b)(3) is on the predominance of common questions,” 568 U.S. at 466 (emphasis

10
   Cuevas v. Citizens Financial Group, Inc., 526 Fed.Appx. 19, 21 (C.A.2, 2013), quoted by Defendants at Rec. Doc.
317, p. 11. The Second Circuit in Cuevas continued, after the quotation offered by Flowers, “the district court
should resolve the factual disputes to the extent they are material to the commonality question and provide a
rigorous analysis of whether Cuevas has presented a common question that is capable of classwide resolution.” Id.
(emphasis added).
11
   Certiorari to the U.S. Supreme Court apparently was not sought in Stukenberg.

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in original), not “common answers.”

        The courts of the Fifth Circuit have not failed to note the Supreme Court’s course

correction. Distinguishing Stukenberg explicitly in light of Amgen, in 2016 the U.S. District

Court for the Western District of Texas quoted the latter in holding that “[m]erits questions may

be considered to the extent—but only to the extent—that they are relevant to determining

whether the Rule 23 prerequisites for class certification are satisfied.”12

        Defendants’ entire project of trial on the merits, at this “strictly… procedural”13 and

preliminary stage, is strikingly inappropriate. It is entirely immaterial whether resolution of

disputed facts “yield common answers that resolve all distributors’ claims in one stroke” (Rec.

Doc. 317, p. 13): the question is whether there are common questions whose ultimate resolution

– at trial – will do so.



        D. Commonality: Common Questions of Law and Fact

        And there are. Even to the extent this Court is bound to “rigorously” examine “the

predominance of common questions,”14 their presence is amply demonstrated, not least by

Defendants’ own extraordinarily laborious (and, as explained above, inapposite) efforts to arrive

at answers on the merits.

        Louisiana law on “independent contractor” classification follows a five-part test, each of

whose prongs is readily capable of common inquiry (and, to the extent relevant under Rule 23,

common determination): 1) a valid contract between the parties; 2) work of an independent

nature permitting its accomplishment by non-exclusive means; 3) specific piece-work in which

the principal has an interest only in result, not in direction; 4) specific price for the overall

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   Steward v. Janek, 315 F.R.D. 472, 481 (W.D.Tex., 2016).
13
   Buford v. H&R Block, Inc., 168 F.R.D. 340, 346 (S.D.Ga., 1996).
14
   Amgen, supra, 568 U.S. at 466 (2013) (emphasis original).

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undertaking; and 5) specified duration not terminable at will.15

        On the evidence before the Court, class members perform economically-dependent work,

of indeterminate duration, under Defendants’ direction, on terms dictated by Defendants, in nigh-

identical contracts, for compensation determined by Defendants’ negotiations with third parties.

These are not just common questions, though that is all that is required at this stage: they are

common answers.

        Next, Flowers’ allegation that “relying on common classification alone is improper” as a

blanket proposition is simply false. Ignoring other evidence on commonality to the contrary,

perhaps, but Flowers here sets up a straw man: Plaintiffs do not need common misclassification

to stand alone. Even if they did, the question would be common to the class: the proper inquiry,

regardless of the answer.

        Indeed, in a recent and closely analogous case, one district court noted that “[l]iability

will be driven by a common question: were the class members misclassified? The same

practice—the classification of workers as independent contractors—touches all members of the

class. The commonality requirement is satisfied.”16

        Finally, Flowers in a flurry of paper raises several additional arguments against

commonality of claims – waiver of participation, statutes of limitations – ignoring the rule that

“as long as a single issue is common to all class members, not all factual or legal questions raised

in the lawsuit need to be common.”17

        First, Defendants cannot be permitted to manufacture material distinctions among their

workers over which those workers lacked control – otherwise, every misclassification suit must

15
   Kibodeaux v. Progressive Ins. Co., 2008-791 (La.App. 3 Cir. 2/4/09, 3) 4 So.3d 222.
16
   Venegas v. Global Aircraft Service, Inc., 159 F.Supp.3d 93, 98-99 (D.Maine, 2016).
17
   Estate of VanDam ex rel. Horizon Trust & Inv. Management, N.A. v. Daniels, 278 F.R.D. 415, 424 (S.D.Ind.
2011), citing Keele v. Wexler, 149 F.3d 589, 594 (C.A.7, 1998) (“A common nucleus of operative fact is usually
enough to satisfy the commonality requirement”)

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necessarily proceed individually, and Rule 23 would have no place in employment law, since

employers can always invent among workers distinctions without differences.

           More important, though, Defendants’ parade of horribles again ignores the decades-old

rule, which even their Memorandum does not controvert, that “[w]hen the claim arises out of the

same legal or remedial theory, the presence of factual variations is normally not sufficient to

preclude class action treatment.”18

           Commonality – common questions and not answers, as this Court must inquire – is more

than satisfied on the facts, even as Defendants accept them.



           II. Rule 23(b)

           A. Rule 23(b)(3): Predominance and Superiority

           For the same reasons as discussed above concerning independent-contractor

classification, common questions – that common question, most saliently – predominate over

individual distinctions among class members.

           And for the same reasons that Defendants’ reliance on Wal-Mart, after Amgen, is

misplaced, their arguments to this Court on predominance go awry. “Rule 23(b)(3) requires a

showing that questions common to the class predominate, not that those questions will be

answered, on the merits, in favor of the class.”19 Although Flowers couches its argument as

dissonance of questions, its argument is self-evidently that those questions will have different

answers – that Flowers’ various hypothetical affirmative defenses will gain traction, for example.

            “But the office of a Rule 23(b)(3) certification ruling is not to adjudicate the case; rather,




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     DeBoer v. Mellon Mortg. Co., 64 F.3d 1171, 1175 (C.A.8, 1995) (internal quotation omitted).
19
     Amgen, supra, 568 U.S. at 459 (2013).

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it is to select the method best suited to adjudication of the controversy fairly and efficiently.”20

There is no doubt whatsoever that common questions predominate (even if Flowers would rather

proffer answers to the Court than to a jury), and that one trial will adjudicate the class’ common

controversies far more fairly and efficiently than hundreds.



        B. Rule 23(b)(2): Availability of Demanded Relief

        As has already been discussed exhaustively, Defendants’ deep delve into the ultimate

outcomes of class members’ LWPA claims are not appropriate, under Amgen, on Rule 23(b)(2)

certification. Much as Flowers wants this Court to determine now that LWPA damages are not

“incidental” to injunctive relief on the class’ state-law claims, and therefore deny certification –

again, make a merits determination on a procedural motion – that “would have [the Court] put

the cart before the horse.”21

        Defendants’ argument – “[m]onetary damages are not incidental in this case”22 – fails as

soon as it begins. Flowers would push the cart home and dispense with the horse entirely.



        III. Rehberg, Martinez, Soares

        Finally, in the briefest portion of their Memorandum, Defendants urge the Court to reject

as incorrectly decided authority directly contradictory to their position23, and adopt instead

authority they prefer.24

        In Martinez, the court in applying California worker-classification law found fault with



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   Amgen, supra, 568 U.S. at 460 (2013).
21
   Id.
22
   Rec. Doc. 317, p. 30.
23
   Rehberg v. Flowers Baking Co. of Jamestown, LLC, 2015 WL 1346125 (W.D.N.C., 2015).
24
   Soares et al v. Flowers Foods, Inc. et al, No. 15-cv-04918 (N.D.Cal. 2017); Martinez v. Flowers Foods, Inc., No.
15-cv-5112 (C.D.Cal. 2016).

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plaintiffs’ ascertainability; Defendants here have made clear in their Memorandum (11 times)

that they already have ascertained exactly who are prospective class members. Rule 23(a) was

otherwise satisfied. Considering Rule 23(b)’s predominance requirement, however, the court

went beyond its (correct) holding that “the only issue this Court must decide… is whether the

question of worker classification predominates across all class members.”

           Rather than conclude, as numerous other courts have and do, that “factual variations is

normally not sufficient to preclude class action treatment,”25 the court in Martinez went further

into factual merits determinations (based, as noted, on California worker-classification law).

           In Soares, noting the prior orders in both Rehberg and Martinez, Rule 23(a) was likewise

satisfied. That court also found that Martinez itself “conflicts with a number of decisions from

this District” in its worker-classification analysis. Then, as in Martinez, the court applied

California worker-classification law – embodied for both decisions in the California Supreme

Court’s opinion in S.G. Borello & Sons, Inc. v. Dep’t of Industrial Relations, 48 Cal.3d 341

(1989) – to find a predominance issue under there-controlling precedent.

           Contrariwise, of course, in Rehberg the North Carolina court found Rule 23(b)(3)

satisfied on exactly the same facts as presented in that and the two California cases.

           If there is a lesson in these cases, it is perhaps that state-law questions of worker

classification will often dominate federal procedural determinations. This is as it should be. Of

course, none of the above decisions are binding on this Court – only Louisiana worker-

classification law. Plaintiffs respectfully aver that on these common facts, under controlling law,

misclassification is the question susceptible of common proof – and that is all that, under Amgen,

Rule 23(b)(3) requires, or allows. The Motion should be granted.



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     DeBoer, supra, 64 F.3d at 1175 (C.A.8, 1995).

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                                                    Respectfully submitted,

                                                    /s/ Ryan M. Goudelocke
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                               CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of this Reply to Flowers’ Opposition to

Motion for Class Certification was electronically filed with the Clerk of the Court using the

CM/ECF system which sent a notice of electronic filing to counsel as indicated by the Court.

       Lafayette, Louisiana, this 16th day of February, 2018.



                                     /s/ Ryan Goudelocke
                                      Ryan M. Goudelocke




                                               11
                                                                                         #371790
